Case 4:12-cv-00001-RRB Document 1-1 Filed 01/23/12 Page 1 of EXHIBIT
                                                             7       A
                                                             Page 1 of 7
Case 4:12-cv-00001-RRB Document 1-1 Filed 01/23/12 Page 2 of EXHIBIT
                                                             7       A
                                                             Page 2 of 7
Case 4:12-cv-00001-RRB Document 1-1 Filed 01/23/12 Page 3 of EXHIBIT
                                                             7       A
                                                             Page 3 of 7
Case 4:12-cv-00001-RRB Document 1-1 Filed 01/23/12 Page 4 of EXHIBIT
                                                             7       A
                                                             Page 4 of 7
Case 4:12-cv-00001-RRB Document 1-1 Filed 01/23/12 Page 5 of EXHIBIT
                                                             7       A
                                                             Page 5 of 7
Case 4:12-cv-00001-RRB Document 1-1 Filed 01/23/12 Page 6 of EXHIBIT
                                                             7       A
                                                             Page 6 of 7
Case 4:12-cv-00001-RRB Document 1-1 Filed 01/23/12 Page 7 of EXHIBIT
                                                             7       A
                                                             Page 7 of 7
